              Case 20-21322-SLM                   Doc 1      Filed 10/05/20 Entered 10/05/20 11:34:28                              Desc Main
                                                            Document      Page 1 of 45

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Belzo LLC d/b/a Rockaway Pharmacy & Compounding

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  25 West Main Street
                                  Rockaway, NJ 07866
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Morris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.rockawaypharmacy.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 20-21322-SLM                      Doc 1        Filed 10/05/20 Entered 10/05/20 11:34:28                                     Desc Main
                                                                 Document      Page 2 of 45
Debtor    Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4461

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
             Case 20-21322-SLM                   Doc 1        Filed 10/05/20 Entered 10/05/20 11:34:28                                  Desc Main
                                                             Document      Page 3 of 45
Debtor   Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case 20-21322-SLM                   Doc 1       Filed 10/05/20 Entered 10/05/20 11:34:28                                 Desc Main
                                                            Document      Page 4 of 45
Debtor    Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 5, 2020
                                                  MM / DD / YYYY


                             X   /s/ Greg DePaolo                                                         Greg DePaolo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ David Edelberg                                                        Date October 5, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David Edelberg
                                 Printed name

                                 Cullen and Dykman LLP
                                 Firm name

                                 433 Hackensack Avenue, 12th Fl.
                                 Hackensack, NJ 07601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     201-488-1300                  Email address      dedelberg@cullenanddykman.com

                                 022381983 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                   Desc Main
                                                                     Document      Page 5 of 45




 Fill in this information to identify the case:

 Debtor name         Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 5, 2020                         X /s/ Greg DePaolo
                                                                       Signature of individual signing on behalf of debtor

                                                                       Greg DePaolo
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 20-21322-SLM                          Doc 1        Filed 10/05/20 Entered 10/05/20 11:34:28                                       Desc Main
                                                                        Document      Page 6 of 45

 Fill in this information to identify the case:
 Debtor name Belzo LLC d/b/a Rockaway Pharmacy & Compounding
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alblez, Inc.                                                    Sale of Business                                                                                       $434,000.00
 22 Almadera Drive
 Wayne, NJ 07470
 Anda                                                            supplier                                                                                               $270,000.00
 Pharmaceuticals
 Inc.
 2915 Weston Road
 Weston, FL 33331
 Bankers Healthcare                                              loan                   Unliquidated                                                                    $100,217.38
 Group
 10234 W. State Road
 84
 Davie, FL 33324
 Bloodwork                                                       Supplier               Unliquidated                                                                        $5,000.00
 Wholesale
 2128 Yank Lamb
 Drive
 Tifton, GA 31793
 Blue Vine                                                       loan                   Unliquidated                                                                    $105,000.00
 30 Montgomery
 Street, Ste 1400
 Jersey City, NJ
 07302
 Capital Wholesale                                               Trade Debt             Unliquidated                                                                      $11,000.00
 Drug Co
 873 Williams Ave
 Columbus, OH
 43212
 Cardinal 110 LLC                                                Inventory,                                         $330,000.00               $150,000.00                  Unknown
 c/o Scott Zuber,                                                receivables,
 Esq.                                                            prescription lists,
 Chiesa Shahinian                                                all assets
 and Giantomasi
 One Boland Drive
 West Orange, NJ
 07052



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case 20-21322-SLM                          Doc 1        Filed 10/05/20 Entered 10/05/20 11:34:28                                       Desc Main
                                                                        Document      Page 7 of 45


 Debtor    Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CIT Bank N.A.                                                   telephones,                                           Unknown                      $500.00                Unknown
 888 East Walnut                                                 corded and
 Street                                                          wireless
 Pasadena, CA 91101
 Forward Financing                                               Loan                   Unliquidated                                                                      $45,000.00
 53 State Street, 20th
 Fl
 Boston, MA 02109
 Fund Works                                                      Loan                                                                                                     $99,227.72
 747 Front Street
 San Francisco, CA
 94111
 Greg DePaolo                                                    wages                                                                                                            $0.00
 9 Terry Place
 Oak Ridge, NJ 07438
 Greg DePaolo                                                    wages                                                                                                     Unknown
 9 Terry Place
 Oak Ridge, NJ 07438
 Greg DePaolo                                                                           Unliquidated                                                                              $0.00
 9 Terry Place
 Oak Ridge, NJ 07438
 Independent                                                     Supplier               Unliquidated                                                                      $25,508.00
 Pharmacy
 Cooperative
 1550 Columbus
 Treet
 Sun Prairie, WI
 53590
 Kapitus Servicing                                               Loan                   Unliquidated                                                                      $90,000.00
 2500 Discovery
 Blvd, Ste 200
 Rockwall, TX 75032
 M&T Bank                                                        Line of credit         Unliquidated                                                                    $100,000.00
 One M&T Plaza, 8th
 Floor
 Attn: Mark W.
 Warren, Esq., Legal
 Dept
 Buffalo, NY 14203
 Moorehouse LP                                                   non-residential        Unliquidated                                                                              $0.00
 33 Division Street                                              real property
 Somerville, NJ                                                  lease
 08876
 PC Bancard                                                      credit card                                                                                                      $0.00
 420 Boulevard                                                   processing
 Mountain Lakes, NJ
 07046
 PNC Bank                                                        Loan and Line of       Unliquidated                                                                    $146,000.00
 222 Delaware Ave                                                credit
 Wilmington, DE
 19801



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                 Case 20-21322-SLM                          Doc 1      Filed 10/05/20 Entered 10/05/20 11:34:28                                         Desc Main
                                                                      Document      Page 8 of 45


 Debtor    Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Top RX LLC                                                                             Unliquidated                                                                          $900.00
 3790 Commerce
 Court, Ste 400
 North Tonawanda,
 NY 14120




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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             Case 20-21322-SLM                                    Doc 1              Filed 10/05/20 Entered 10/05/20 11:34:28                                                          Desc Main
                                                                                    Document      Page 9 of 45
 Fill in this information to identify the case:

 Debtor name            Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           572,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           572,500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           330,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,431,853.10


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,761,853.10




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                         Desc Main
                                                                     Document      Page 10 of 45
 Fill in this information to identify the case:

 Debtor name         Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $2,000.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     TD Bank operating account                                                                                                        $7,500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $9,500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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            Case 20-21322-SLM                          Doc 1           Filed 10/05/20 Entered 10/05/20 11:34:28                          Desc Main
                                                                      Document      Page 11 of 45
 Debtor         Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                         Case number (If known)
                Name


           11a. 90 days old or less:                                 30,000.00    -                                    0.00 = ....                 $30,000.00
                                              face amount                                 doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                    $30,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used   Current value of
                                                      physical inventory              debtor's interest          for current value       debtor's interest
                                                                                      (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory                                                                                  $0.00                                       $150,000.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                   $150,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28               Desc Main
                                                                     Document      Page 12 of 45
 Debtor         Belzo LLC d/b/a Rockaway Pharmacy & Compounding                               Case number (If known)
                Name


        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           telephones, corded and wireless                                                  $0.00                                          $500.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Miscellaneous office equipment, server, 3
           monitors and 2 clients, pill counting machine,
           tools, scales, cash registers, shelving and
           fixtures.                                                                        $0.00    Liquidation                         $7,500.00




 51.       Total of Part 8.                                                                                                          $7,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                 Desc Main
                                                                     Document      Page 13 of 45
 Debtor         Belzo LLC d/b/a Rockaway Pharmacy & Compounding                               Case number (If known)
                Name


               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     25 West Main Street,                 Tenant month
                     Rockaway, NJ                         to month                     Unknown                                                     $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.rockawaypharmacy.com                                                        $0.00      Liquidation                          Unknown



 62.        Licenses, franchises, and royalties
            Pharmacy license                                                                $0.00                                           Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28            Desc Main
                                                                     Document      Page 14 of 45
 Debtor         Belzo LLC d/b/a Rockaway Pharmacy & Compounding                              Case number (If known)
                Name

 63.        Customer lists, mailing lists, or other compilations
            Prescription lists                                                         Unknown       Revenue based                   $375,000.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                     $375,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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             Case 20-21322-SLM                             Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                         Desc Main
                                                                         Document      Page 15 of 45
 Debtor          Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $9,500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $30,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $150,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $7,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $375,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $572,500.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $572,500.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                Desc Main
                                                                     Document      Page 16 of 45
 Fill in this information to identify the case:

 Debtor name         Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Cardinal 110 LLC                               Describe debtor's property that is subject to a lien                 $330,000.00               $150,000.00
       Creditor's Name                                Inventory, receivables, prescription lists, all
       c/o Scott Zuber, Esq.                          assets
       Chiesa Shahinian and
       Giantomasi
       One Boland Drive
       West Orange, NJ 07052
       Creditor's mailing address                     Describe the lien
                                                      sale of goods
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   CIT Bank N.A.                                  Describe debtor's property that is subject to a lien                     Unknown                     $500.00
       Creditor's Name                                telephones, corded and wireless
       888 East Walnut Street
       Pasadena, CA 91101
       Creditor's mailing address                     Describe the lien
                                                      lease 4 corded telephones, 3 wireless
                                                      telephones
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1535

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                               Desc Main
                                                                     Document      Page 17 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor       Compounding                                                                             Case number (if known)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $330,000.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                  Desc Main
                                                                     Document      Page 18 of 45
 Fill in this information to identify the case:

 Debtor name         Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           $13,850.00
           Greg DePaolo                                              Check all that apply.
           9 Terry Place                                                Contingent
           Oak Ridge, NJ 07438                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Greg DePaolo                                              Check all that apply.
           9 Terry Place                                                Contingent
           Oak Ridge, NJ 07438                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                           Desc Main
                                                                     Document      Page 19 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor       Compounding                                                                                     Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           955 S. Springfield Avenue, Bldg A                            Contingent
           Springfield, NJ 07081                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           State of New Jersey                                       Check all that apply.
           Division of Taxation                                         Contingent
           Bankruptcy Section                                           Unliquidated
           P.O. Box 245
           Trenton, NJ 08695-0245                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $434,000.00
           Alblez, Inc.                                                                Contingent
           22 Almadera Drive                                                           Unliquidated
           Wayne, NJ 07470                                                             Disputed
           Date(s) debt was incurred     August 2014                               Basis for the claim:     Sale of Business
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Amerisource Bergen                                                          Contingent
           1300 Morris Drive                                                           Unliquidated
           Chesterbrook, PA 19087
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Supplier
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $270,000.00
           Anda Pharmaceuticals Inc.                                                   Contingent
           2915 Weston Road                                                            Unliquidated
           Weston, FL 33331                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     supplier
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                     Desc Main
                                                                     Document      Page 20 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor       Compounding                                                                             Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,217.38
          Bankers Healthcare Group                                              Contingent
          10234 W. State Road 84                                                Unliquidated
          Davie, FL 33324
                                                                                Disputed
          Date(s) debt was incurred December 2018
                                                                             Basis for the claim:    loan
          Last 4 digits of account number 3331
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          Bloodwork Wholesale                                                   Contingent
          2128 Yank Lamb Drive                                                  Unliquidated
          Tifton, GA 31793
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $105,000.00
          Blue Vine                                                             Contingent
          30 Montgomery Street, Ste 1400                                        Unliquidated
          Jersey City, NJ 07302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,000.00
          Capital Wholesale Drug Co                                             Contingent
          873 Williams Ave                                                      Unliquidated
          Columbus, OH 43212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,000.00
          Forward Financing                                                     Contingent
          53 State Street, 20th Fl                                              Unliquidated
          Boston, MA 02109
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $99,227.72
          Fund Works                                                            Contingent
          747 Front Street                                                      Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred October 4, 2019
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number 2178
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Greg DePaolo                                                          Contingent
          9 Terry Place                                                         Unliquidated
          Oak Ridge, NJ 07438
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                     Desc Main
                                                                     Document      Page 21 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor       Compounding                                                                             Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,508.00
          Independent Pharmacy Cooperative                                      Contingent
          1550 Columbus Treet                                                   Unliquidated
          Sun Prairie, WI 53590
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Jersey Central Power and Light                                        Contingent
          PO Box 3687                                                           Unliquidated
          Akron, OH 44309
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $90,000.00
          Kapitus Servicing                                                     Contingent
          2500 Discovery Blvd, Ste 200                                          Unliquidated
          Rockwall, TX 75032
                                                                                Disputed
          Date(s) debt was incurred April 2019
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          M&T Bank                                                              Contingent
          One M&T Plaza, 8th Floor                                              Unliquidated
          Attn: Mark W. Warren, Esq., Legal Dept
                                                                                Disputed
          Buffalo, NY 14203
          Date(s) debt was incurred
                                                                             Basis for the claim:    Line of credit
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Moorehouse LP                                                         Contingent
          33 Division Street                                                    Unliquidated
          Somerville, NJ 08876
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    non-residential real property lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          New Jersey Natural Gas                                                Contingent
          415 Wyckoff Road                                                      Unliquidated
          PO Box 1464
                                                                                Disputed
          Belmar, NJ 07719
          Date(s) debt was incurred
                                                                             Basis for the claim:    Natural gas
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Optimum                                                               Contingent
          1111 Stewart Avenue                                                   Unliquidated
          Bethpage, NY 11714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    internet and telephone service
          Last 4 digits of account number       1039
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                     Desc Main
                                                                     Document      Page 22 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor       Compounding                                                                             Case number (if known)
              Name

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           PC Bancard                                                           Contingent
           420 Boulevard                                                        Unliquidated
           Mountain Lakes, NJ 07046                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card processing
           Last 4 digits of account number      6383
                                                                             Is the claim subject to offset?         No     Yes

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $146,000.00
           PNC Bank                                                             Contingent
           222 Delaware Ave                                                     Unliquidated
           Wilmington, DE 19801
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan and Line of credit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $900.00
           Top RX LLC                                                           Contingent
           3790 Commerce Court, Ste 400                                         Unliquidated
           North Tonawanda, NY 14120
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Township of Rockaway                                                 Contingent
           65 Mount Hope Road                                                   Unliquidated
           Rockaway, NJ 07866
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    water service
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Ariel Bouskila, Esq.
           Berkovitch & Bouskila, PLLC                                                                Line     3.9
           80 Broad Street, Ste 3303
                                                                                                             Not listed. Explain
           New York, NY 10004

 4.2       Geoffrey E. Lynott, Esq
           McCarter & English                                                                         Line     3.14
           Four Gateway Center
                                                                                                             Not listed. Explain
           100 Mulberry Street
           Newark, NJ 07102

 4.3       Michael S. Goodman, Esq.
           3 University Plaza, Ste 350                                                                Line     3.1
           Hackensack, NJ 07601
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                     Desc Main
                                                                     Document      Page 23 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor       Compounding                                                                         Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.       $                    0.00
 5b. Total claims from Part 2                                                                       5b.   +   $            1,431,853.10

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              1,431,853.10




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 6 of 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                     Desc Main
                                                                     Document      Page 24 of 45
 Fill in this information to identify the case:

 Debtor name         Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Central payment
             lease is for and the nature of               processing
             the debtor's interest

                  State the term remaining
                                                                                       Central Pay
             List the contract number of any                                           2350 Kerner Blvd, Ste 300
                   government contract                                                 San Rafael, CA 94901


 2.2.        State what the contract or                   Telephone Equipment
             lease is for and the nature of               Lease
             the debtor's interest

                  State the term remaining
                                                                                       CIT Bank N.A.
             List the contract number of any                                           888 East Walnut Street
                   government contract                                                 Pasadena, CA 91101


 2.3.        State what the contract or                   lease non residential
             lease is for and the nature of               real property
             the debtor's interest

                  State the term remaining                month to month
                                                                                       Moorehouse LP
             List the contract number of any                                           33 Division Street
                   government contract                                                 Somerville, NJ 07887-6000


 2.4.        State what the contract or                   Internet and telephone
             lease is for and the nature of               service
             the debtor's interest

                  State the term remaining
                                                                                       Optimum
             List the contract number of any acct no                                   1111 Stewart Avenue
                   government contract       07876-489781-03-9                         Bethpage, NY 11714




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28             Desc Main
                                                                     Document      Page 25 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor 1 Compounding                                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Credit Card Processing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     PC Bancard
             List the contract number of any                                         420 Boulevard
                   government contract                                               Mountain Lakes, NJ 07046




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                  Desc Main
                                                                     Document      Page 26 of 45
 Fill in this information to identify the case:

 Debtor name         Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Debra DePaolo                     9 Terry Place                                      Alblez, Inc.                      D
                                               Oak Ridge, NJ 07438                                                                  E/F       3.1
                                                                                                                                    G




    2.2      Greg DePaolo                      9 Terry Place                                      Alblez, Inc.                      D
                                               Oak Ridge, NJ 07438                                                                  E/F       3.1
                                                                                                                                    G




    2.3      Greg DePaolo                      9 Terry Place                                      Fund Works                        D
                                               Oak Ridge, NJ 07438                                                                  E/F       3.9
                                                                                                                                    G




    2.4      Greg DePaolo                      9 Terry Place                                      Cardinal 110 LLC                  D   2.1
                                               Oak Ridge, NJ 07438                                                                  E/F
                                                                                                                                    G




    2.5      Greg DePaolo                      9 Terry Place                                      Amerisource Bergen                D
                                               Oak Ridge, NJ 07438                                                                  E/F       3.2
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28        Desc Main
                                                                     Document      Page 27 of 45
              Belzo LLC d/b/a Rockaway Pharmacy &
 Debtor       Compounding                                                                    Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Greg DePaolo                      9 Terry Place                                      Blue Vine                 D
                                               Oak Ridge, NJ 07438                                                          E/F       3.6
                                                                                                                            G




    2.7      Greg DePaolo                      9 Terry Place                                      Forward Financing         D
                                               Oak Ridge, NJ 07438                                                          E/F       3.8
                                                                                                                            G




    2.8      Greg DePaolo                      9 Terry Place                                      Kapitus Servicing         D
                                               Oak Ridge, NJ 07438                                                          E/F       3.13
                                                                                                                            G




    2.9      Greg DePaolo                      9 Terry Place                                      M&T Bank                  D
                                               Oak Ridge, NJ 07438                                                          E/F       3.14
                                                                                                                            G




    2.10     Greg DePaolo                      9 Terry Place                                      PNC Bank                  D
                                               Oakridge, NJ 07483                                                           E/F       3.19
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                             Desc Main
                                                                     Document      Page 28 of 45



 Fill in this information to identify the case:

 Debtor name         Belzo LLC d/b/a Rockaway Pharmacy & Compounding

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,917,202.17
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $3,230,153.76
       From 1/01/2019 to 12/31/2019
                                                                                                   Other    sales


       For year before that:                                                                       Operating a business                             $3,412,032.59
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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              Case 20-21322-SLM                        Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                 Desc Main
                                                                     Document      Page 29 of 45
 Debtor       Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                           Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached list of disbursements                                                                  $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See attached list of disbursements                                                                  $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Fund Works                                                Debtor's credit card processing account                       August 2020                   Unknown
       747 Front Street
       San Francisco, CA 94111

       Cardinal 110 LLC                                          Debtor's Leadernet Account maintained by                      August 2020                 $65,000.00
       c/o Bruce Bieber, Esq.                                    Central Pay.
       Kurzman Eisenberg Corbin & Lever
       LLP
       One North Broadway, 12th Fl
       White Plains, NY 10601


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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              Case 20-21322-SLM                        Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                 Desc Main
                                                                     Document      Page 30 of 45
 Debtor        Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                              Case number (if known)



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.1.    The Fundworks LLC v Debtor                        collection                   NY Suprem Court, Queen                      Pending
               712348/2020                                                                    County                                      On appeal
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    David Edelberg, Esq.
                Cullen and Dykman, LLP
                433 Hackensack Avenue                                                                                          January 8,
                Hackensack, NJ 07601                                                                                           2020                           $5,000.00

                Email or website address


                Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                             Desc Main
                                                                     Document      Page 31 of 45
 Debtor        Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                          Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.2.    David Edelberg, Esq.
                Cullen and Dykman, LLP
                433 Hackensack Avenue                                                                                          July 28,
                Hackensack, NJ 07601                                                                                           2020                    $500.00

                Email or website address


                Who made the payment, if not debtor?




       11.3.    David Edelberg, Esq.
                Cullen and Dykman, LLP
                433 Hackensack Avenue                                                                                          September
                Hackensack, NJ 07601                                                                                           10, 2020              $7,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.4.    David Edelberg, Esq.
                Cullen and Dykman, LLP
                433 Hackensack Avenue                                                                                          September
                Hackensack, NJ 07601                                                                                           14, 2020              $4,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.5.    David Edelberg, Esq.
                Cullen and Dykman, LLP
                433 Hackensack Avenue                                                                                          September
                Hackensack, NJ 07601                                                                                           18, 2020              $4,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.6.    David Edelberg, Esq.
                Cullen and Dykman, LLP
                433 Hackensack Avenue                                                                                          September
                Hackensack, NJ 07601                                                                                           25, 2020              $2,500.00

                Email or website address


                Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                Desc Main
                                                                     Document      Page 32 of 45
 Debtor        Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                           Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates                 Total amount or
                 the transfer?                                                                                                                                value
                 Address
       11.7.     David Edelberg, Esq.
                 Cullen and Dykman, LLP
                 433 Hackensack Avenue                                                                                         October 2,
                 Hackensack, NJ 07601                                                                                          2020                        $1,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers                Total amount or
                                                                                                                      were made                               value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer               Total amount or
               Address                                           payments received or debts paid in exchange             was made                             value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services               If debtor provides meals
                                                                 the debtor provides                                                        and housing, number of
                                                                                                                                            patients in debtor’s care

 Part 9:       Personally Identifiable Information




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                           Desc Main
                                                                     Document      Page 33 of 45
 Debtor        Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                          Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  customer addresses, health insurance information and for flu shot
                  customers the social security numbers.
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    PNC Bank                                         XXXX-                       Checking                 April 2020                           $0.00
                Rockaway, NJ 07866                                                           Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                                 Desc Main
                                                                     Document      Page 34 of 45
 Debtor      Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                            Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                          Desc Main
                                                                     Document      Page 35 of 45
 Debtor      Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                            Case number (if known)



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       Edward Smith, CPA                                                                                                   2014 to date
                    64 Westland Road
                    Cedar Grove, NJ 07009
       26a.2.       Halliez Tax & Accounting                                                                                            2014 to date
                    Basking Ridge, NJ 07920


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Edward Smith CPA
                    64 Westland Road
                    Cedar Grove, NJ 07009
       26c.2.       Jennifer Halliez



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Bankers Healthcare Group


       26d.2.       Corporate Capital Direct


       26d.3.       StillwellRX Pharmacy Consulting


       26d.4.       Direct Funding Now


       26d.5.       Fund Works
                    747 Front St
                    San Francisco, CA 94111
       26d.6.       Forward Financing
                    53 State Street
                    Boston, MA 02109
       26d.7.       Kapitus Servicing
                    2500 Discovery BBlvd, Ste 200
                    Rockwall, TX 75032
       26d.8.       Blue Vine
                    30 Montgomery Street
                    Jersey City, NJ 07302


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                           Desc Main
                                                                     Document      Page 36 of 45
 Debtor      Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                            Case number (if known)



       Name and address
       26d.9.       Jason Hu



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Greg DePaolo                                   9 Terry Place                                       Managing Member and sole              100%
                                                      Oak Ridge, NJ 07438                                 member



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Greg DePaolo
       .    9 Terry Place
                Oak Ridge, NJ 07438                              Health insurance, see attached list                     Various            Compensation

                Relationship to debtor
                Sole member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                   Desc Main
                                                                     Document      Page 37 of 45
 Debtor      Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                            Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 5, 2020

 /s/ Greg DePaolo                                                       Greg DePaolo
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 10
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                     Desc Main
                                                                     Document      Page 38 of 45
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                                  Case No.
                                                           Debtor(s)                                          Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 24,000.00
             Balance Due                                                                                  $                  1,000.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Pursuant to retainer agreement.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Pursuant to retainer agreement.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 5, 2020                                                              /s/ David Edelberg
     Date                                                                         David Edelberg
                                                                                  Signature of Attorney
                                                                                  Cullen and Dykman LLP
                                                                                  433 Hackensack Avenue, 12th Fl.
                                                                                  Hackensack, NJ 07601
                                                                                  201-488-1300 Fax: 201-488-6541
                                                                                  dedelberg@cullenanddykman.com
                                                                                  Name of law firm




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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28                               Desc Main
                                                                     Document      Page 39 of 45
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                                           Case No.
                                                          Debtor(s)                                                   Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Greg DePaola                                                                         100%
 9 Terry Place
 Oak Ridge, NJ 07438


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date October 5, 2020                                                        Signature /s/ Greg DePaolo
                                                                                            Greg DePaolo

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28          Desc Main
                                                                     Document      Page 40 of 45




                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                             Case No.
                                                          Debtor(s)                                     Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       October 5, 2020                                             /s/ Greg DePaolo
                                                                         Greg DePaolo/Managing Member
                                                                         Signer/Title




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    Case 20-21322-SLM   Doc 1    Filed 10/05/20 Entered 10/05/20 11:34:28   Desc Main
                                Document      Page 41 of 45


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                        Alblez, Inc.
                        22 Almadera Drive
                        Wayne, NJ 07470


                        Amerisource Bergen
                        1300 Morris Drive
                        Chesterbrook, PA 19087


                        Anda Pharmaceuticals Inc.
                        2915 Weston Road
                        Weston, FL 33331


                        Ariel Bouskila, Esq.
                        Berkovitch & Bouskila, PLLC
                        80 Broad Street, Ste 3303
                        New York, NY 10004


                        Bankers Healthcare Group
                        10234 W. State Road 84
                        Davie, FL 33324


                        Bloodwork Wholesale
                        2128 Yank Lamb Drive
                        Tifton, GA 31793


                        Blue Vine
                        30 Montgomery Street, Ste 1400
                        Jersey City, NJ 07302


                        Capital Wholesale Drug Co
                        873 Williams Ave
                        Columbus, OH 43212


                        Cardinal 110 LLC
                        c/o Scott Zuber, Esq.
                        Chiesa Shahinian and Giantomasi
                        One Boland Drive
                        West Orange, NJ 07052


                        Central Pay
                        2350 Kerner Blvd, Ste 300
                        San Rafael, CA 94901
Case 20-21322-SLM   Doc 1    Filed 10/05/20 Entered 10/05/20 11:34:28   Desc Main
                            Document      Page 42 of 45



                    CIT Bank N.A.
                    888 East Walnut Street
                    Pasadena, CA 91101


                    Debra DePaolo
                    9 Terry Place
                    Oak Ridge, NJ 07438


                    Forward Financing
                    53 State Street, 20th Fl
                    Boston, MA 02109


                    Fund Works
                    747 Front Street
                    San Francisco, CA 94111


                    Geoffrey E. Lynott, Esq
                    McCarter & English
                    Four Gateway Center
                    100 Mulberry Street
                    Newark, NJ 07102


                    Greg DePaolo
                    9 Terry Place
                    Oak Ridge, NJ 07438


                    Independent Pharmacy Cooperative
                    1550 Columbus Treet
                    Sun Prairie, WI 53590


                    Internal Revenue Service
                    955 S. Springfield Avenue, Bldg A
                    Springfield, NJ 07081


                    Jersey Central Power and Light
                    PO Box 3687
                    Akron, OH 44309


                    Kapitus Servicing
                    2500 Discovery Blvd, Ste 200
                    Rockwall, TX 75032
Case 20-21322-SLM   Doc 1    Filed 10/05/20 Entered 10/05/20 11:34:28   Desc Main
                            Document      Page 43 of 45



                    M&T Bank
                    One M&T Plaza, 8th Floor
                    Attn: Mark W. Warren, Esq., Legal Dept
                    Buffalo, NY 14203


                    Michael S. Goodman, Esq.
                    3 University Plaza, Ste 350
                    Hackensack, NJ 07601


                    Moorehouse LP
                    33 Division Street
                    Somerville, NJ 08876


                    Moorehouse LP
                    33 Division Street
                    Somerville, NJ 07887-6000


                    New Jersey Natural Gas
                    415 Wyckoff Road
                    PO Box 1464
                    Belmar, NJ 07719


                    Optimum
                    1111 Stewart Avenue
                    Bethpage, NY 11714


                    PC Bancard
                    420 Boulevard
                    Mountain Lakes, NJ 07046


                    PNC Bank
                    222 Delaware Ave
                    Wilmington, DE 19801


                    State of New Jersey
                    Division of Taxation
                    Bankruptcy Section
                     P.O. Box 245
                    Trenton, NJ 08695-0245


                    Top RX LLC
                    3790 Commerce Court, Ste 400
                    North Tonawanda, NY 14120
Case 20-21322-SLM   Doc 1    Filed 10/05/20 Entered 10/05/20 11:34:28   Desc Main
                            Document      Page 44 of 45



                    Township of Rockaway
                    65 Mount Hope Road
                    Rockaway, NJ 07866
            Case 20-21322-SLM                          Doc 1          Filed 10/05/20 Entered 10/05/20 11:34:28           Desc Main
                                                                     Document      Page 45 of 45



                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Belzo LLC d/b/a Rockaway Pharmacy & Compounding                                              Case No.
                                                          Debtor(s)                                      Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Belzo LLC d/b/a Rockaway Pharmacy & Compounding in the above captioned
action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or
indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to
report under FRBP 7007.1:



    None [Check if applicable]




 October 5, 2020                                                       /s/ David Edelberg
 Date                                                                  David Edelberg
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Belzo LLC d/b/a Rockaway Pharmacy & Compounding
                                                                       Cullen and Dykman LLP
                                                                       433 Hackensack Avenue, 12th Fl.
                                                                       Hackensack, NJ 07601
                                                                       201-488-1300 Fax:201-488-6541
                                                                       dedelberg@cullenanddykman.com




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